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        "-/                                                  . Dea~ in 123 patien~itehouse (2004) .                                                          ....-J
DrW# \lnitials \Name                      Sex \DOB:'        DOD:         Asbestos disease si                           IAge  ILiVedwi Age at .\l.ife     !:.:E:..llOSS of
                                                                         death?                                         at Ox ARD for Death E        ct. years years
                                                                                                                              vrs?             at Ox               of lite
1      IVRV IVERLER VINSON           M   1/31/1925 11213/2006 IYes                             1/10/1997 172 ·19        181     184.2     112.2 ·13.2
14     ILGD     ILARRYG DAVIS·       M 8/11/1943 18/5/2006· INa                                11/17/1997154 19         163     179.4     125.4 ,-
23     IMHR IMILES H RIGHTMIRE       M '10/4/1920 19J2I20001Yes                                7/3011998 78 12          180·    186.9     18.9 16.9
28     IRON IROBERT D NELSON         M 4/6/1935 16/9/2005 IYes.                                7/16/1998 63 17170               181.3     118.3 111.3
33     IDLD· \DONALD.I- DESHAZER M 11/15/1930 110/3/2001 ' IYes                                7/13/1989 59 112.      . 171.    180.3     121.3 19.3
38      IRRS IRODNEY R SMITH         M 7/15/1948 16(27/2003 IYes                               4/8/1999     51 14       155     178.9     127.9 123.9
 39     IVVRT \WAYNE R TELLESCH      M 7/14/1933 11/1212002· IYes                              9/14/2000 67 12           169    182.5' 115.5 113.5
 42     IEEE     IEDDIE E EGGERS     M   2120/1949 18/26/2006' IDrWves-:noDC vet                1/5/1999    50   17    .157     178.8· 128.8 121.8
 43     IGO      IGERALD OIKLE       M   6/29/1925 16114/2002 IYes                            .9/8/1989     64 113       177    181.6     117.6 14.6
 48     IJOD     IJACK 0 DESHAZER    M    5/26/1921 18/3/2002IYes'                              71711997    76 ·15       181    186.0     110.0 15.0
 51      IDMK IDONALD M KAEDING      M    9/16/1922 11/30/2002 IYes                             5/~1996     74 16·      ·180    \85.1     111.1 15.1
 62      IRGD· IRICHARD G DAVIDSON M 4/9/1934' 112121/2000IYes                                  9/21/1998 64 . 12        166     181.6    117.6 115.6
 63      \WJH IWllLlAM J HAGERTY      M 7/9/1909 16/26/2005 IYes                                2/16/1999 90 16          196     194.3     14.3 1-1.7
 64      lOGS IDANIEL GARRISON       M    8/6/1931    181712000 IYes                            7/29/1998 67 12          169     182.5     115.5 113.5
 67       IWSJ IWILLIAM S .JOHNSTON M 10/17/1929 112130/2004 INa-                                3/30/1999 70' 15         175    183.5     113..5 ,.
"80       IIWT    IIVAN WTROYER       M   12125/191418/26/2007 \DrWyes. no DC vet                911511998 84 19          193. 190.3       16.3 1-2.7
  83      \WJB. IWILLlAM J BADGL.EY   M .3/6/1918 19125/2001 IYes                                1/1/1996    78 15        1133   186.9     18.9' 13.9
  92      IAMD· IALFRED M DICKERMAN M      11/iJ/1920 \9/9/2003' ·IYes                        . '4/13/2000 80 13.         183    188.0     \8.0    15.0
  94       IDAR \DONALD A RILEY       M    5/191193912126/1997 IVes                              8/31/1981 -42 116        158    177.8     135.8 119.8
  95       lEAG IEDWARD A GASTON      M    9/11/1927' 17/8/2003 IVes                             7/15/1998 71 15          176     183:9     112.9 \7.9
  109 IRHS IRAYMOND H SIEFKE . M           10/30/1921 \7/1212002· INa                             1/19/1999 78 13·\81             186:9     18.9 ,-
  116 IJVR         IJAMES V RACICOT   M    3/4/1935 112130/2006 IDrW-yes, no DC yet              9/28/2000 65 \6           \71    \81.9116.9 110.9
   117 IRR         IROYCE RYAN         M   6/13/1931 15/1112004 IYes                              6/15/1998 67 \6          173    182.5· 115.5 19.5
   119      IREW IROBERT E WILKINS     M   1/2211927 111/10/2002 1DrW ves, no DC vet              7/23/1998 71    r4       175    183.9     112.9 18.9
   120 IDAJ        IDONALD A JOHNSON   M 1/9/193.3 li)30/1998 IYes                                11/9/1981 48 117          165   178.5     130.5 113.5
   123 IAJW IANDREW J WRIGHT           M   5/31/1922. \5113/2001 \Yes                             5/1/1996    74   15       179    185.1     111.1 16.1
   NON-CLlENTS:
   50       IRK·- IRK (non-client)     M 14/30/1.932 '\3/4/2006 Wes per DtW (dxdate not exact) 16/1/1989 157 117.            74     79.9     \22.9 \5,.9
                                       M15/15/1928!12110/1990IYesperPtW(dxdatenotexaCt)          16/1/1983   155   17        62     79.6 . 124.6 117.6
   121 IHRN· IHRN (non-client)
                                                                                                                                   I"averaae 108s=19.5
  28 Total Deceased                                                                                                                                                        "'.



                                             I    I            I            J        -   •        •          ,


  *average loss of life expectency   9.5 years (based on "Future Damage Calculator' extracted from National Center for Health Statistics.
                                              Airas; Elizabeth Ph.Q. United States· Ute Tables,2003~ National Vital Statistics Reports;
                                              vol 54. Hyattsville, Maryland: National Center for Health S~tistics, 2006. Bureau ofthe .
                                              Cerisus~bemoQraphic StatistiCal Metho~ Division lifetables-:)T-               I     \

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     CASE #         TYPE OF PROGRESSION       DOB Type            Exposure history              Smoking History     Period of loss     FVC
                                                    *                                                                                BEFORE
       i/RM    PLEURAL WITH EFFUSION     A1934 M                   miner WRG 59-90                 quit 1971          2002-2006        3.49
       21HC'   PLEURAL W/O EFFUSION      Ai929 E           Lived Libby lifelong Ilumber mill       quit 1995          2002-2005        3.52
       3IWC      INTERSTITIAL DISEASE    Ai960     F      Lived Libby 62-75 Stepfather WRG      quit 2001/15 py ,     2003-2005        3.28
       4/RM     PLEURALW/O EFFUSION      A1951     E               Lifelong resident                  none            2001-2006        6.32
       5/LH   PLEURAL AND INTERSTITIAL A1952 E                   Resident Libby 52-85                 none            2004-2006        4.97
       6/KM     PLEURAL W/O EFFUSION     A19~ ,M                   miner WRG 73-78                    none            2002-2005        3.78
        7/JS    PLEURAL W/O EFFUSION     A1954 M                   miner WRG 74-93                    none            1995-2000        4.74
        8/LK    PLEURAL W/O ,EFFUSION    A1947 M           Worked for WRG logging/brakes        Smokes 5 cig/d        2001-2005        3.99
        9/CH   PLEURAL WITH EFFUSION     A1927 E             Libby resident 1961-preseilt          quit 1996          2002-2006        3.08
       10/FC    PLEURAL W/O EFFUSION     A1923 M            Logger 31 years/ Libby Resident        quit 1960          1994-2000 '
       ii/AD    PLEURAL W/O EFFUSION     A1920 M                 miner,WRG 1967-1983                  never           1999-2000        1.38
       12/AW   'PLEURAL  W/O  EFFUSION   A1922 M                 miner WRG-1957-1963               quit 1952          1996-1999        1.96
       13/DA  PLEURAL  AND  INTERSTITIAL A1937 , F            father worked WRGllogger             quit 1970          2001.:.3002      3.65
       14/JD    PLEURAL W/O, EFFUSION     A1921 '. M             minerWRG 1947-1957                 quit 1957         1997-1999        3.62
       151WT    PLEURAL W/O EFFUSION      A1953 M                  miner WRG '74-90                   none            1999-2006        4.53
       17/AS    PLEURAL W/O EFFUSION      A1942 E              Libby teacher 69-present          6 mos in 1961        2005-2006        4.38
        19/RF   PLEURAL W/O EFFUSION      A1924 , M       minerWRG 58-861 Lumber Mill 47-57       45-721 ppd          2005-2007        4.64
       22/WW    PLEURAL WITH EFFUSION     A1926' M                WRG Miner 1947-49                1955-1958          2004-2008        3.42




                      * M=miner, F= family,
                        E= environmental




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 FVC      FEV1       FEV1       DLCO     DLCO         Date of
AFTER BEFORE         AFTER    BEFORE     AFTER        Death
 1.13    .2.48        0.83      17.94     8.60
 2.02   . 1.79        1.15.    ·24.22     7.54
 2.23      2.82 .     1.84      17.57     11.42
 3.28      4.03       2.87      41.70     28.pO .
 1.88      3.94        1.5      32.20      XX
  3.17     3.01      ·2.67      29.92     22.33·
  3.37      3.8       2.83       33.1     30.48
  2.63     3.11       2.33      20.42     18.62
  2.50     2.12       1.74      21.42     16.03
  1.78                0.99                             2001
  1.28     1.32       0.7~     8.89        5.94        2003
  1.65     1.72       1.53     18.2     14.3 (1997)    2000
  3.34     2.53       2.31     25.46       18;82       2003
  3.37      1.97      1.71     19;00       18.24       2003
  3.53      2.91      2.57     38.70       30.67
  3.34      3.52      2.61     25.13       20.42·
  3.69      2.49      1.87     21.87       14.32
   2.41     2.85 .     2.3     21.68        9.87
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CASES #            NAME                DATE        FVC        %        FEV1      %         DLCO       %
          1    ROBERT MACK           04104/2000    3.58       84        2.63     78         24.38     90
                                     11/13/2001    3.34       79        2.43     72         20.12     75
                                     07/23/2002    3.49       83        2.48     74        ,17.94     67
                                     0412212004    2.67       65        1.91     60         19.84     76
                                     03/1512005    2.01       52        1.44     47          8.74     34
                                     0610512006    1.13       35       ,0.83     27          8.6      34
          2         HC               01/28/2002     3.52     106       1.79      68        24.22      63
                                     0710712004     3.05 '   93        1.71      67        13.5       57
                                     0511112005   ' 2.06     63        1.15      45        7.54       ,32
          3   WENDY CHALLINOR        0311412002    3.16      98          2.64    97        18.14      78
                                     03119/2003    3.28      102      . '2.82    104       17.57      75
                                     1211712003                                            15.32      66
                                     03/15/2004    3.02       95       2.52      94        13.22      57
                                     10/1012005   ,2.23       68       1.84      67        11.42      50 '
                                     10/3012006    2.38       76       1.82      69        '9.63      42
          4     RON MASTERS          0411312001    6.32      142       4.03      111        41.7     139
                                     03129/2002    4~57      106       4.14      115        38.6     129
                                     0410812003    4.40      103       3.77      108        31.8,    107
                                     09/08/2003    3.89      92        3.49 '    101        29.85    101
                                     05/15/2006    3.28      78        2.87       85        28.0      90
          5      LARRY HILL          06/23/2004    4.97       116       3~94     113        32.2     109
                                     06/1412005    3.17       75       2.54      73         26.7     91
                                     03/27/2006    2.47      ,59       2.18      64         28.8     99
                                     05/08/2006    1.79       42       1.64      48        CAN'T
                                     06113/2006    1.88       44       1.50      44         DO

          6      KEN MOSS            0813012001     4.05     ,92       3..14     87        '31.47     103
                                     1012212002     3.78      87       3.01      84         29.92     99,'
                                     03124/2003     3.55      81       3.01      84         26.1      86
                                     0311512004    '3:54      81       2.89'     81         23.64     78
                                     04/18/2005     3.17      72       2.67      74 '       22.33    ,76
